Case 3:19-cr-30047-RAL Document 28 Filed 09/06/19 Page 1 of 3 PagelD #: 74

UNITED STATES DISTRICT COURT
DISTRICT OF SOUTH DAKOTA
CENTRAL DIVISION

 

UNITED STATES OF AMERICA, CR 19-30047

Plaintiff,
FACTUAL BASIS STATEMENT
vs.

ANDREA CIRCLE BEAR, a/k/a
Andrea High Bear,

Defendant.

 

The Defendant states that the following facts are true, and the parties
agree that they establish a factual basis for the offense to which the Defendant is
pleading guilty pursuant to Fed. R. Crim. P. 11(b)(3):

| On or about between April 24, 2018, and April 30, 2018, in the District of

South Dakota, the Defendant unlawfully and knowingly used and maintained a
place located at Habitat Housing Number 19, Eagle Butte, South Dakota, for the
purposes of distributing and using methamphetamine, a Schedule II controlled
substance, in violation of 21 U.S.C. §§ 856(a)(1) and 856(b).

On April 24, 2018, a confidential informant performed a controlled buy of
approximately 2 grams of methamphetamine from the Defendant for $400 in
United States currency. The purchase occurred at Habitat Housing Number 19,
Eagle Butte, South Dakota. The Defendant did not live at Habitat Housing

Number 19, but she used and maintained the residence to distribute

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Case 3:19-cr-30047-RAL Document 28 Filed 09/06/19 Page 2 of 3 PagelD #: 75

methamphetamine. She packaged and distributed the methamphetamine to
the confidential informant. The Defendant possessed approximately 8 grams
total of methamphetamine at that time and place.

On April 30, 2018, a confidential informant performed a controlled buy of
approximately 3.5 grams of methamphetamine from the Defendant for $450 in
United States currency. This purchase was arranged by the Defendant to be at
Habitat Housing Number 19, Eagle Butte, South Dakota, but the location was
changed to a nearby parking lot. The Defendant personally distributed the
methamphetamine to the confidential informant.

Methamphetamine is a Schedule II controlled substance.

RONALD A. PARSONS, JR.
United States Attorney

 
  

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Document 28 Filed 09/06/19 Page 3 of 3 PagelD #: 76

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Andrea Circle Bear, a/k/a Andrea High
Bear

Defendant

  

Naans (DPR,
AVON & KG DOV
Margo Northrup i)
Attorney for Defendant
